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Via UPS Overnight Service

January 24, 2022

MOLE MEDICAL SERVICES PC

LAKE HAVASU CITY, AZ


Dear Sir or Madam,

T-Mobile USA, Inc. ("T-Mobile") received a subpoena for records related to a phone number
associated with your T-Mobile account from the U.S. House Select Committee to Investigate the
January 6th Attack on the United States Capitol. A copy of the relevant portions of the
subpoena is included with this letter

T-Mobile intends to produce records associated with your account in response to the subpoena
on February 4, 2022, unless you or your representative provide the company with
documentation no later than February 2, 2022, confirming that you have filed a motion for a
protective order, motion to quash, or other legal process seeking to block compliance with the
subpoena. Please direct any motion, legal process or question to T-Mobile's Legal and
Emergency Response Team at LERCustomerNotifications@T-Mobile.com


Sincerely,


 Legal and Emergency Response Team




                                       FMobile
                            12920 SE 38th Street, Bellevue, WA 98006
                                       www.t-mobile.com
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                                                        SUBPOENA
                  BY AUTHORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                       CONGRESs OF THE UNITED STATES OF AMERICA

       T-Mobile
  To

          You are hereby commanded to            be and appear before the
                   Select Commiltee to Investigate the January 6th Attack on the Unitod States Capitol


           of the House of Representatives of the United States at the placc, date,and time specificd below.
          to produce the things identificd on the attached schedule touching matters of inquiry committed to said
          committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.


          Place of production: 1540A Longworth House OfficeBuilding, Washington, DC 20515

            Date: February 2, 2022                                                    Time: 10:00 a.m.

          to testify at a deposition touching matters of inquiry committed to said committee or subcommittec;
          and you are not to depart without leave of said committee or subcommittec.


           Place    oftestimony:

           Date:                                                                    Time

          to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
           you are not to depart without leave of said committee or subcommittee.


            Place   of testimony:

           Date:                                                                      Time


                             member orthe United States Marshals Service
  Toany authorized staff
                                                                                                  to serve and make   return.

                                    Witness my hand and the seal   of the House of Representatives of the United States,   at

                                      the city   of Washington, D.c.   this 19      day of January              ,2022


                                                                                         Chalrman or Authorized Member
 Attest


Clerk
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                                              SCHEDULE
In accordance with the attached definitions and instructions, you, T-Mobile, arc hercby required
to produce the documents and records ("Records") listed in Section A, below, for the time period
              1,
November 2020, to January 31, 2021, concerning the phone numbers listed in Section B,
bclow (the "Phone Numbers"). This schedule does not call for the production of the content of any
communications or location information.
Please email the records to SELECT_CLERKS@MAIL.HOUSE.GOV or, in the alternative,
send them by mail to 1540A Longworth House Office Building, Washington, DC 20515, care of
Jacob Nelson, Select Committee to Investigate the January 6th Attack on the U.S. Capitol.

Section     A- Records to Be Produced      for Each Phone Number
    1.        Subseriber Information: All subscribcr information for the Phone Number, including:

                   a.    Name, subscriber name, physical address, biling address, e-mail address,
                         and any other address and contact information;

                   b.    All authorized   users on the associated account;

                         All phone numbers     associated with the account;

                   d.    Length of service (including start date) and types of service utilizcd;

                   e.    Telephone or instrument numbers (including MAC addresses), Electronic
                         Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN")
                         Mobile Equipment Identifier ("MEID"), Mobile Identification Numbers
                         (MIN"), Subscriber Identity Modules ("SIM"), Mobile Subscriber
                         Integrated Services Digital Nctwork Number ("MSISDN'"), International
                         Mobile Subscriber Identificrs ("MSI), or International Mobile Equipment
                         Identities ("IMEI") associated with the accounts;

                   f.    Activation datc and termination date of cach device associated with the
                         account;

                         Any and all number and/or account number changes prior to and after the
                         account was activated;

                   b.    Other subscriber numbers or identities (including temporarily assigned
                         network addresses and registration Internet Protocol ("IP") addresses); and

    2.        Connection Records and Records      of
                                                   Session Times andDurations: All call, message
              (SMS & MMS), Internet Protocol   ("IP*"), and data-connection detail records associated
              with the Phone Numbers, including all phone numbers, IP addresses, or devices that
              communicated with the Phone Number via delivered and undelivercd inbound,
              outbound, and routed calls, messages, voicemail, and data connections.
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Secton B- Phone Numbers




           9   4220
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       DOCUMENT PRODUCTION DEFINITIONS AND INSTRUCTIONS
1.      In complying with this request, produce all responsive documents, regardless of
        classification level, that are in your possession, custody, or control, whether hcld by
        you or your past or present agents, employces, and representatives acting on your
        behalf. Produce all documents that you have a legal right to obtain, that you have a
        right to copy, or to which you have access, as well as documents that you have
        placed in the temporary possession, custody, or control of any third party.

2.      Requested documents, and all documents reasonably related to the requested
        documents, should not be destroyed, altered, removed, transferred, or otherwise
        made inaccessible to the Select Committee to Investigate the January 6th Attack on
        the United States Capitol ("Committee").

3.      In the cvent that any entity, organization, or individual denoted in this request is or
         has been known by any name other than that herein denoted, the request shall be
         read also to include that alternative identification.

        The Committee's preference is to receive documents in a protected
        clectronic form (i.c., password protected CD, memory stick, thumb drive, or
        secure file transfer) in lieu of paper productions. With specific reference to
        classified material, you will coordinate with the Committee's Security
        Officer to arrange for the appropriate transfer of such information to the
        Committee. This includes, but is not necessarily limited to: a) identifying
        the classification levcl of the responsive document(s); and b) coordinating
        for the appropriate transfer of any classified responsive document(s).

5.       Electronic document productions should be preparcd according to the
         following standards:

         a.     If the production is completed through a series of multiple partial
                productions, field names and file order in all load files should match.

        b.      All electronic documents   produccd to the Committee should include the
                following fields of metadata specific to each document, and no
                modifications should be made to the original metadata:

                BEGDOC, ENDDOC, TEXT, BEGATTACH, ENDATTACH,
                PAGECOUNT, CUSTODIAN, RECORDTYPE, DATE, TIME,
                SENTDATE, SENTTIME, BEGINDATE, BEGINTIME, ENDDATE,
                ENDTIME, AUTHOR, FROM, CC, TO, BCC, SUBJECT, TTTLE,
                FILENAME, FILEEXT, FILESIZE, DATECREATED, TIMECREATED,
                DATELASTMOD, TIMELASTMOD, INTMSGID, INTMSGHEADER,
                NATIVELINK, INTFILPATH, EXCEPTION, BEGATTACH.
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6.      Documents produced to the Committec should includc an index describing the
        contents of the production. To the cxtent more than onc CD, hard drive, memory
        stick, thumb drive, zip file, box, or folder is produced, cach should contain an
        index describing its contents.

1.      Documents produced in response to this request shall be produced together with
        copies of file labels, dividers, or identifying markers with which they were
        associated when the request was served.

8.      When you produce documents, you should identify the paragraph(s) or request(s)
        in the Committee's letter to which the documents respond.

9.      The fact that any other person or entity also possesses non-identical or identical
        copies of the same documents shall not be a basis to withhold any information.

10      The pendency of or potential for litigation shall not be a basis to
        withhold any information.

11.     In accordance with  5 U.S.C.§ 552(d), the Freedom of Information Act (FOIA)

        and any statutory excmptions to FOIA shall not be a basis for withholding any
        information.

12.     Pursuant to  U.S.C. § 552a(b)(9), the Privacy Act shall not be
                       5                                                  a basis   for
        withholding information.

13.     If compliance withbethe request cannot be made in full by the specified return date,
        compliance shall     made  to the extent possible bythat date. An explanation of
        why full compliance is not possible shall be provided along with any partial
        production, as well as a dato certain as to when full production will be satisfied.

14      In the event  that a document is withheld on any basis, provide a log containing the
        following information concerning any such document: (a) the reason it is being
        withheld, including, if applicable, the privilege asserted; (b) the type of document;
        (c) the general subject matter; (d) the date, author, addressee, and any other
        recipient(s); (e) the relationship of the author and addressee to each other; and
        the basis for the withholding.
                                                                                          ()

15.     If any document responsive to this request was, but no longer is, in your
        possession, custody, or control, identify the document (by date, author, subject,
        and recipients), and explain the circumstances under which the document ceased
        to be in your possession, custody, or control. Additionally, identify where the
        responsive document can now be found including name, location, and contact
        information of the entity or entities now in possession of the responsive
        document(s).

16.     Ifa date or other descriptive detail set forth in this request referring to a document
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        is inaccurate, but the actual date or other descriptive detail is known to you or is
        otherwise apparcnt from the contoxt of the request, produce all documents that
        would be responsive as if the date or other descriptive detail were correct.

17      This request is contiuing in nature and applies to any newly-discovered
        information. Any record, document, compilation of data, or information not
        produced because it has not been located or discovered by the return date shall be
        produced immediately upon subsequent location or discovery.

18.     All   documents shall be Bates-stamped sequentially and produced sequentially.

19.     Upon completion of the production, submita written certification, signed by you or
        your counsel, stating that: (1) a diligent search has been completed of all
        documents in your possession, custody, or control that reasonably could contain
        responsive documents; and
        (2) all documents located during the search that are responsive have been produced
        to the Committee.

                                          Definitions

1.      The term "document" means any written, recorded, or graphic matter of any nature
        whatsoever, regardless of classification level, how recorded, or how
        stored/displayed (e.g. on a social media platform) and whether original or copy,
        including, but not limited to, the following: memoranda, reports, expense reports,
        books, manuals, instructions, financial roports, data, working papers, records, notes,
        letters, notices, confirmations, telegrams, roccipts, appraisals, pamphlets,
        magazines, newspapers, prospectuses, communications, electronic mail (email),
        contracts, cables, notations of any type of convcrsation, tclephone call, meeting or
        other inter-office or intra-office communication, bullctins, printed matter, computer
        printouts, computer or mobile device screenshots/screen captures, teletypes,
        invoices, transcripts, diaries, analyses, returns, summaries, minutes, bills, accounts,
        estimates, projections, comparisons, messages, correspondence, press releases,
        circulars, financial statements, reviews, opinions, offers, studies and investigations,
        questionnaires and surveys, and work sheets (and all drafts, preliminary versions,
        alterations, modifications, revisions, changes, and amendments of any of the
        foregoing, as well as any attachments or appcndices thereto), and graphic or oral
        records or representations of any kind (including without limitation, photographs,
        charts, graphs, microfiche, microfilm, videotape, recordings and motion pictures),
        and clectronic, mcchanical, and clectric records or representations of any kind
        (including, without limitation, tapes, cassettes, disks, and recordings) and other
        written, printed, typed, or other graphic or recorded matter of any kind or nature,
        however produced or reproduced, and whether preserved in writing, film, tape, disk,
        videotapc, or otherwise. A document bearing any notation not a part of the original
        text is to be considcred a separate document. A drafl or non-identical copy is a
        separate document within the meaning of this term.
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    2       The term "communication" means each manner or means of disclosure or
            exchange of information, regardless of means utilized, whether oral, clectronic,
            by document or otherwise, and whether in a meeting, by telephone, facsimile,
            mail, releases, clectronic message including email (desktop or mobile device), text
            message, instant message, MMS or SMS message, message application, through a social
            media or online platform, or otherwise.

    3.      The terms "and" and "or" shall be construed broadly and either conjunctively or
            disjunctively to bring within the scope of this request any information that might
            otherwise be construed to be outside its scope. The singular includes plural number,
            and vice versa. The masculine includes the feminine and neutral gendcrs.

            The term "including" shall be construed broadly to mean "including, but not limited
            to."

    5.      The term "Company" means the named legal entity as well as any units, firms,
            partnerships, associations, corporations, limited liability companies, trusts,
            subsidiaries, affiliates, divisions, departments, branches, joint ventures,
            proprietorships, syndicates, or other legal, business or government entities over
            which the named legal entity exercises control or in which the named entity has any
            ownership whatsoever.

    6.      The term "identify," when used in a question about individuals, means to
            provide the following information: (a) the individual's complete name and title;
            (b) the individual's business or personal address and phone number; and (c)
            any and all known aliases.

    1.      The term "related to" or "referring or relating to," with respect to any given
            subject, means anything that constitutes, contains, embodies, reflects, identifies,
            states, refers to, deals with, or is pertinent to that subject in any manner
            whatsocver.

    8.      The term "employec" means any past or present agent, borrowed employee,
            casual employee, consultant, contractor, de facto employee, detailee,
            assignee, fellow, independent contractor, intern, joint adventurer, loaned
            employee, officer, part-time employee, permanent employec, provisional
            employee, special government employee, subcontractor, or any other type of
            service provider.

    9.      The term "individual" means all natural persons and all persons or entities
            acting on their behalf.


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